       Case 1:22-md-03051-ELR Document 82 Filed 05/25/23 Page 1 of 10




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 In re: ARC AIRBAGS INFLATORS                   Case No.: 1:22-md-03051-ELR
 PRODUCTS LIABILITY LITIGATION
                                                MDL No. 3051
 ALL CASES
                                                Judge:       Eleanor L. Ross

                                                OEM DEFENDANTS’ RESPONSE
                                                TO PLAINTIFFS’ MOTION FOR
                                                CASE MANAGEMENT
                                                CONFERENCE




      The OEM Defendants (Kia America, Inc.; Hyundai Motor America; Porsche

Cars North America, Inc.; BMW of North America, LLC, FCA USA LLC;

Volkswagen Group of America, Inc.; Audi of America, LLC; General Motors LLC;

and Ford Motor Company) do not oppose Plaintiffs’ request that the Court hold a

case management conference to discuss: (1) Plaintiffs’ renewed request for pre-

complaint discovery; (2) the parties’ pending submissions regarding entry of a

Protective Order and ESI protocol, and (3) any other issues the Court would like to

discuss.

      As the Court is probably aware, the National Highway Traffic Safety

Administration (NHTSA) sent a letter to ARC Automotive, Inc. on April 27, 2023

concerning certain airbag inflators designed and manufactured by ARC. NHTSA did

                                        1
       Case 1:22-md-03051-ELR Document 82 Filed 05/25/23 Page 2 of 10




not send the letter to the OEM Defendants. As of the date of this submission, the

OEM Defendants have no information that indicates a recall is appropriate for any

ARC inflator identified in the NHTSA letter, other than those previously or currently

subject to recall. The OEM Defendants are aware of 7 known field events occurring

in the United States (as detailed in the NHTSA Letter at p.5). These have occurred

in a population estimated by NHTSA to be 67 million inflators. Each OEM

Defendant is taking this issue seriously and has been cooperating with NHTSA in

the course of its investigation regarding ARC airbag inflators.

      For example, on May 10, 2023, General Motors announced a recall of 994,763

GM vehicles with ARC-manufactured airbag inflators to replace the front-driver

airbag module. As GM explained to NHTSA, GM is aware of three rupture events

in Chevrolet Traverse vehicles involving the same “MC” inflator variant. The reason

for these inflator ruptures remains unknown to GM and GM continues to investigate

these incidents. Out of an abundance of caution, GM decided to expand its two prior

recalls to all front-driver airbag modules continuing an ARC “MC” variant inflator

that were installed as original equipment in 2014-2017 model year Chevrolet

Traverse, Buick Enclave, and GMC Acadia vehicles.

      The OEM Defendants understand the Plaintiffs are requesting that all

Defendants immediately produce documents that they have provided to NHTSA

concerning ARC hybrid toroidal inflators and that such production occur before


                                         2
       Case 1:22-md-03051-ELR Document 82 Filed 05/25/23 Page 3 of 10




Plaintiffs file their consolidated complaint. 1 The parties previously addressed this

issue in the Joint Submission of Deadlines for Rule 26(f) Conference, Initial

Disclosures, and Other Preliminary Discovery [ECF No. 66].

      The OEM Defendants’ position is that this case management conference will

be most efficient and effective if there is a clear agenda for the items to be discussed

and with sufficient time for the parties to identify their positions on the items to be

discussed before the conference is held (to the extent those positions have not already

been submitted to the Court in prior filings). Therefore, the OEM Defendants

respectfully request that this case management conference order be scheduled after

the Court identifies the items for discussion at the conference, and with opportunity

for the parties to submit briefing on the issues to be discussed at the conference.




1
  The OEM Defendants also understand the Plaintiffs would like for the OEM
Defendants to review potential named class member Vehicle Identification Numbers
(“VIN”) before they file their consolidated complaint to confirm whether the class
members’ vehicles were originally equipped with ARC inflators. Most, if not all, of
the OEM Defendants will agree to that request.
                                           3
       Case 1:22-md-03051-ELR Document 82 Filed 05/25/23 Page 4 of 10




Dated: May 25, 2023

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                                     4
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                                    8
      Case 1:22-md-03051-ELR Document 82 Filed 05/25/23 Page 9 of 10




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                                    9
      Case 1:22-md-03051-ELR Document 82 Filed 05/25/23 Page 10 of 10




                     CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), the undersigned certifies that the foregoing

complies with the font and point selections permitted by Local Rule 5.1. This brief

was prepared on a computer using the Times New Roman font (14 point).



                                       /s/ Michael B. Shortnacy
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                                        10
